As the design of notice is to give the party the benefit of a cross-examination, its regularity must, in a great degree, depend upon the circumstances of the case, and can oftener be tested by the dictates of good sense and sound discretion than by any general rule applicable to all cases. It could not, for example, safely be laid down as a rule that such a notice as this might be practiced in all cases; for if the parties and witness lived near together, there would not only be no necessity for it, but it might tend to ensnare the party noticed, and aid the other in procuring testimony in a fraudulent manner. But where the witness lives at a great distance from the parties, and only one day is named, many accidents may intervene to prevent his arrival there, whereby the deposition is not taken and justice is delayed. All this is avoided by naming two or more successive days; and as the witness lived in Georgia, in this case, we are of opinion that the notice was good.
NOTE. — See Kennedy v. Alexander, 2 N.C. 25; Bedell v. StateBank, 12 N.C. 483.
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